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16
                                   UNITED STATES BANKRUPTCY COURT
17                                 NORTHERN DISTRICT OF CALIFORNIA
                                        SAN FRANCISCO DIVISION
18                                                              Bankruptcy Case No. 19-30088 (DM)

19     In re:                                                   Chapter 11
                                                                (Lead Case)
20     PG&E CORPORATION,                                        (Jointly Administered)

21              - and -
                                                                DECLARATION OF KEVIN J. ORSINI IN
       PACIFIC GAS AND ELECTRIC COMPANY,                        SUPPORT OF JOINT BRIEF OF DEBTORS AND
22                                                              THE OFFICIAL COMMITTEE OF
                                                                UNSECURED CREDITORS AND
                                         Debtors.               SUPPLEMENTAL STATEMENT OF THE PG&E
23
        Affects PG&E Corporation                               SHAREHOLDERS CONCERNING THE
                                                                APPLICABILITY OF INVERSE
24                                                              CONDEMNATION
        Affects Pacific Gas and Electric Company
25                                                              Date:    November 19, 2019
       Affects both Debtors
                                                                Time:    10:00 a.m.
26                                                              Place:   United States Bankruptcy Court
       * All papers shall be filed in the Lead Case, No. 19-             Courtroom 17, 16th Floor
       30088 (DM).                                                       San Francisco, CA 94102
27

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                                                      4
1    Pursuant to 28 U.S.C. § 1746, I, Kevin J. Orsini, hereby declare under penalty of perjury as follows:

2           1.      I am a Member of Cravath, Swaine & Moore LLP (“Cravath”), counsel to Pacific Gas

3    and Electric and PG&E Corporation (collectively, “PG&E” or the “Debtors”) in the above-captioned

4    Chapter 11 Cases. I am admitted to practice in the State of New York and am admitted to practice

5    before this Court pro hac vice. I submit this Declaration in Support of the Joint Brief of Debtors and

6    the Official Committee of Unsecured Creditors and Supplemental Statement of the PG&E

7    Shareholders Concerning the Applicability of Inverse Condemnation (the “Motion”). I have personal

8    knowledge of the facts set forth in this declaration except as otherwise stated.

9           2.      Attached hereto as Exhibit A is a true and correct copy of Governor Newson’s Strike

10   Force Report titled “Wildfires And Climate Change: California’s Energy Future”, (the “Strike Force

11   Report”), dated April 12, 2019.

12          3.      Attached hereto as Exhibit B is a true and correct copy of a transcript of the relevant

13   portions of the November 30, 2017 hearing of the California Public Utilities Commission (“CPUC”)

14   that    is    posted     on     the     CPUC’s       website      at    http://www.adminmonitor.com

15   /ca/cpuc/voting_meeting/20171116/. I confirm that Exhibit B accurately transcribes the CPUC

16   Hearing Video beginning at the 12:45 minute mark and ending at the 34:14 minute mark.

17          4.      Attached hereto as Exhibit C is a true and correct copy of the Concurrence of President

18   and Commissioner Michael Picker and Commissioner Martha Guzman Aceves with respect to the

19   SDG&E Decision (the “CPUC Concurrence”).

20          5.      Attached hereto as Exhibit D is a true and correct copy of the November 30, 2017,

21   CPUC Decision Denying Application of San Diego Gas &Electric Company (“SDG&E”) for

22   Authorization to Recover Costs Related to the 2007 Southern California Wildfires (Decision 17-11-

23   033) (the “SDG&E Decision”).

24          6.      Attached hereto as Exhibit E is a true and correct copy of the July 12, 2018, CPUC

25   Order Decision Denying Rehearing of Decision 17-11-033 (Decision 18-07-025).

26          7.      Attached hereto as Exhibit F is a true and correct copy of the Final Report Of The

27   Commission On Catastrophic Wildfire Cost And Recovery (the “Wildfire Commission Report”)

28   submitted by the Governor’s Office of Planning and Research, dated June 17, 2019.


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                                                  4
1           8.      Attached hereto as Exhibit G is a true and correct copy of the article Credit FAQ: Will

2    California Still Have An Investment-Grade Investor-Owned Electric Utility? published by S&P Global

3    Ratings, dated Feb. 19, 2019.

4           9.      Attached hereto as Exhibit H is a true and correct copy of the article S&P Downgrades

5    PG&E Over Calif. Wildfire Risks by Nephele Kirong, published by S&P Global Market Intelligence,

6    dated February 26, 2018.

7           10.     Attached hereto as Exhibit I is a true and correct copy of the article S&P, Moody’s

8    Downgrades PG&E, Pacific Gas And Electric Ratings On Wildfire Risks by Nephele Kirong,

9    published by S&P Global Market Intelligence, dated November 16, 2018.

10          11.     Attached hereto as Exhibit J is a true and correct copy of the article PG&E Bonds Reach

11   New Lows As S&P Cuts Five Notches To Junk by Molly Smith and Natalya Doris, published by

12   Bloomberg, dated January 8, 2019.

13          12.     Attached hereto as Exhibit K is a true and correct copy of Opening Brief of Pacific Gas

14   and Electric Company for the Application of Southern California Edison Company (U338E) for

15   Authority to Establish Its Authorized Cost of Capital for Utility Operations for 2020 and to Partially

16   Reset the Annual Cost of Capital Adjustment Mechanism, filed September 30, 2019 (Application 19-

17   04-014).

18          13.     Attached hereto as Exhibit L is a true and correct copy of Opening Brief of Southern

19   California Edison Company for the Application of Southern California Edison Company (U338E) for

20   Authority to Establish Its Authorized Cost of Capital for Utility Operations for 2020 and to Partially

21   Reset the Annual Cost of Capital Adjustment Mechanism, filed September 30, 2019 (Application 19-

22   04-014).

23          14.     Attached hereto as Exhibit M is a true and correct copy of Opening Brief of San Diego

24   Gas & Electric for the Application of Southern California Edison Company (U338E) for Authority to

25   Establish Its Authorized Cost of Capital for Utility Operations for 2020 and to Partially Reset the

26   Annual Cost of Capital Adjustment Mechanism, filed September 30, 2019 (Application 19-04-014).

27          15.     Attached hereto as Exhibit N is a true and correct copy of What is Cost of Capital

28   (CoC)? published by the CPUC.


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                                                  4
1           16.     Attached hereto as Exhibit O is a true and correct copy of the May 30, 2019, CPUC

2    Guidance Decision on Wildfire Mitigation Plans Submitted Pursuant to Senate Bill 901 (Decision 19-

3    05-036).

4           17.     Attached hereto as Exhibit P is a true and correct copy of the San Diego Gas & Electric

5    Company Prepared Supplemental Testimony of Concentric Energy Advisors Wildfire Risk Premium

6    (AB 1054), dated August 1, 2019 (Application 19-04-017).

7                   I declare under penalty of perjury that, to the best of my knowledge and after reasonable

8    inquiry, the foregoing is true and correct.

9

10   Dated: October 25, 2019

11                                                 /s/ Kevin J. Orsini

12                                                 Kevin J. Orsini
                                                   Cravath, Swaine & Moore LLP
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